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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION

                                                     CASE NO.: 18-cv-20761-JEM

  EUROSPORT ACTIVE WORLD
  CORPORATION, a Florida corporation,

             Plaintiff,

  v.

  MNP, LLP, a Canadian limited liability
  partnership,

        Defendant
  __________________________________/

                                     DEFENDANT’S CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the document listed below was

  served by electronic mail on February 28, 2018 to Corey E. Hoffman, Esq., COREY E.

  HOFFMAN,                P.A.,       3250        Mary        Street,       Suite       303,       Coconut          Grove,         FL       33133,

  corey@coreyhoffman.com, chris@coreyhoffman.com, Counsel for the Plaintiff, EUROSPORT

  ACTIVE WORLD CORPORATION.

                        Defendant’s Notice of Removal [DE 1].

                                                     CERTIFICATE OF FILING

             I HEREBY CERTIFY that on this 28th day of February, 2018, a true and correct copy of

  the foregoing has been furnished by electronic filing with the Clerk of the court via CM/ECF,

  which will send notice of electronic filing to all counsel of record.


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